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                                      Certificate of Service


I hereby certify that on this 29th day of November, 2017, a copy of the foregoing via electronic
mail, postage prepaid to:
               Ability Recovery Services, LLC
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                                                                /s/ Ingmar Goldson
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